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              UNITED STATES DISTRICT COURT FOR THE
                 SOUTHERN DISTRICT OF NEW YORK

New London Associates, LLC,

                   Plaintiff,
     v.

Kinetic Social LLC,
Spectrum Media Services, LLC,
Internap Corp.,
                                               Case No. 1:18-cv-7963
Western Alliance Bancorporation d/b/a Bridge
Bank,
Costella Kirsch,
Blue Chip Venture Company Ltd.,
Blue Chip VI Extension Fund II LLC, and
Multiplier Capital LP

                 Defendants.




                NEW LONDON ASSOCIATES LLC’S OPPOSITION TO
               COSTELLA KIRSCH’S MOTION TO DISMISS (DKT. 112)
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I.    Introduction & Facts
      Plaintiff NEW LONDON ASSOCIATES, LLC (“NLA”) is a New York based

software developer. As pled in its Second Amended Complaint (hereafter, the

“Complaint” or “Compl.”), COSTELLA KIRSCH (“CK”) is a partnership that

invested in NLA’s customers Twelvefold and Kinetic and, through the control that

said investments created over NLA’s customers, infringed NLA’s copyrights,

converted NLA’s property, and interfered with NLA’s existing business

relationships.

      Despite contrary language in the agreements cited by CK in its brief, in order

to attempt to profit from those investments, CK directed NLA’s customers to

transfer NLA’s RTR copyrighted work product to Kinetic. This transfer was an

infringement of NLA’s copyrights, a conversion of NLA’s property, and an

interference with NLA’s existing business relationships.

II.   CK’s Incorporation by Reference is Improper
      As an initial matter, the structure of CK’s briefing makes it nearly impossible

to adequately respond. Rather than brief their arguments, CK attempts to

incorporate by reference its briefing on its prior Motion to Dismiss (Dkt. 83)—which

in not based on the current Complaint—and also Bridge Bank’s briefing in its

withdrawn Motion to Dismiss (Dkt. 110). See Dkt. 113 at 2-4. Incorporating other

briefing by reference is improper. See Nissan Motor Acceptance Corp. v. Dealmaker

Nissan, LLC, Case No. 7:09-CV-0196 (GTS/ATB), 2012 U.S. Dist. LEXIS 89737, at

*6 n.2 (N.D.N.Y. June 27, 2012) (holding that incorporation by reference is improper

because “[s]etting aside the risk that such reference could cause the referring



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document to violate the District’s rule on page limitations . . . , such a practice also

risks causing the opposing party to inadvertently overlook the attempted

incorporation, and risks confusing the Court as to which ‘incorporated’ arguments

are actually being relied upon”); see also Topliff v. Wal-Mart Stores E. LP, Case No.

6:04-CV-0297 (GHL), 2007 U.S. Dist. LEXIS 20533, at *38 n.65 (N.D.N.Y March 22,

2007).

         Furthermore, because CK’s prior briefing that it incorporates is based on a

previous complaint, the paragraphs to which it refers do not correspond to

allegations in the present Complaint, and many of the arguments made there are no

longer relevant. In addition, the briefs that CK claims to incorporate by reference

are not consistent. Compare Dkt. 83 with Dkt. 110. For example, CK’s prior brief

substantively argues four different bases for dismissal, but Bridge Bank’s

withdrawn brief only argues two, which partially overlap with CKs old brief.1 So, is

CK now asserting only the two bases argued by Bridge Bank but supplementing the

argument with its prior briefing on the same arguments, or is it continuing to assert

the old arguments that Bridge Bank is no longer asserting? Thus, it is virtually

impossible to respond in a coherent manner, because it is not entirely clear which

arguments CK believes are even still live. CK’s Motion could be denied on this basis

alone. See id.

         Nonetheless, NLA has endeavored in the brief to respond as thoroughly as



1As of the date of filing this brief, Bridge Bank has been dismissed from this matter
and its brief(s) are withdrawn.


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possible. In the Preliminary Statement of CK’s brief, it lists four arguments, which

the following paragraphs seem to argue. See Dkt. 113 at 2-3. As these arguments

are also the primary arguments in CK’s prior brief, NLA will primarily brief these

issues here. If, however, CK asserts that NLA has failed to address an argument

from an incorporated brief that CK believes to still be a live issue, NLA requests

that the Court grant it leave at that time to file supplemental briefing on any issue

that NLA does not address herein due to CK’s inappropriate incorporation by

reference.

III.   NLA Pleads Actionable Copyright Claims
       CK’s motion to dismiss NLA’s copyright claims must be denied, because NLA

has pled actionable copyright claims.

       A.    CK Directly Infringed NLA’s Copyrights
       As described in the Complaint, Plaintiff owns the copyrights to RTR, they

have never been assigned. Compl. ¶13. NLA has never issued any licenses to RTR.

Compl. ¶66. The deal struck between Kinetic and NLA was not for a license or

assignment of NLA’s rights, rather it was for services (i.e. setup fee and equipment

rental.) Compl. ¶48. NLA has never made or transferred any ownership interest or

license to RTR or any derivatives. Compl. ¶13, 66.

       NLA never sold a copy, made an assignment, granted a license, or in any way

authorized any third party—Twelvefold, Kinetic, or Spectrum—to use or access its

software in perpetuity, or in any way that could be transferred to a third party.

NLA rented access to its software and servers to Twelvefold, and then to Kinetic.

Compl. ¶32, 48. After Twelvefold and then Kinetic defaulted on their obligations to



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NLA, their use of NLA’s server, or software, was unauthorized. NLA did provide

access to the code of RTR, so that the users of the software (Twelvefold and then

Kinetic) could better work with and configure the operation of the servers that NLA

was renting to them. But, again, as soon as Twelvefold and Kinetic defaulted on

their obligations, any such use was unauthorized infringement.

      CK argues that NLA has not adequately pled a claim for direct or indirect

copyright infringement against CK. Dkt. 113 at 3. The primary argument seems to

be that CK claims not to know the specific acts of which it is accused. See id. at 2-3;

Dkt. 83 at 7-8; Dkt. 110 at 5-7.

      The Complaint, however, clearly indicates that CK is accused of exercising

control over two entities that it was financing and ordering them to copy NLA’s

software. See, e.g., Compl. ¶¶ 16, 27 a-c, 35-46, 52-53, 73-74. Not only do these

paragraphs allege specific acts, they refer to specific correspondence sent between

the CK and other Defendants where the alleged actions were discussed or ordered.

See, e.g., id. ¶¶ 46 nn.6-8, 52. Therefore, CK’s allegations that the Complaint does

“not clarify or identify the specific acts” or that they are based on “conclusory

statements” or that the specific allegations against CK are not spelled out are false.

See Dkt. 113 at 2; Dkt. 83 at 7-8; Dkt. 110 at 5-7.

      CK next attempts to hide behind the Twelvefold asset purchase/foreclosure

sale agreement, claiming that agreement makes clear that Twelvefold could not

transfer any property interest that it did not hold. See Dkt. 113 at 3; Dkt. 83 at 9-

10; Dkt. 110 at 7. The problem with this argument is that the agreement to which



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CK’s argument refers discusses what should have been done, not what was actually

done. For example, in Dkt. 113, CK does not say that the product was not

transferred, rather it argues that if Twelvefold did not hold a license, then the

transfer never occurred, but if Twelvefold held a license, then the copyright was not

violated by the transfer. See Dkt. 113 at 3. Rather than stating whether or not the

product was transferred, CK attempts to speculate about the issue. Said

differently, CK is not accused of poor contract drafting, rather CK is accused of

being part of a scheme that actually resulted in copyright violations and other

harms to NLA. Whether, as CK alleges, that was contrary to the language in

various contract(s) is beside the point.

      Moreover, the emails cited by the Complaint, and provided in NLA’s

supporting declaration, reveal what actually happened. Despite any language in

any agreement between the various Defendants, on May 26, 2016, CK’s Richard

Ginn approved the transfer of the RTR product to an escrow agent for transfer to

Kinetic upon closing of the deal being brokered. See Compl. ¶ 46 n.8; see also Simon

Decl. (Dkt. 125) ¶ 6 and Ex. D (Dkt. 125-4) at 40-43. At no point did Mr. Ginn refer

to the exclusion clause or engage in any of the semantic acrobatics now argued in

CK’s brief.

      In addition, it is clear that the RTR product was not seen as falling under the

exclusion clause cited by CK, because in the same email chain Blue Chip’s Chris

McCleary described application as a “critical asset.” See id.

      Thus, despite CK’s arguments to the contrary, it is clear from the Complaint



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and the documents cited therein what specific acts CK is accused of having

performed to infringe NLA’s copyright. CK’s motion to dismiss the direct

infringement claims should be denied.

      B.     CK Contributed to the Infringement of NLA’s Copyrights
      CK’s original briefing also took issue with the specificity of the pleading of

NLA’s contributory infringement and conspiracy causes of action. See Dkt. 83 at 8,

10-13. These arguments do not appear to be contained in either CK’s current brief

or Bridge Bank’s current brief. See Dkt. 113 at 2-3; Dkt. 110 at 5-7. Unfortunately,

however, because of CK’s improper incorporation by reference, it is impossible to tell

whether these arguments are still being asserted. NLA will briefly address them

here out of an abundance of caution, but NLA requests that it be allowed to flesh

out its briefing if CK later clarify or expands upon its arguments.

      One of the arguments of CK’s earlier brief is that a contributory copyright

infringement claim “requires that the defendant had knowledge of the infringing

activity and actively induces, causes, or materially contributed to that activity.”

Dkt. 83 at 12. These facts have been adequately pled. See, e.g., Compl. ¶¶ 35-46,

77-78, 82-83. If the pled allegations leave any doubt regarding CK’s knowledge and

inducement of the infringement, that doubt is dispelled by the correspondence cited

in the Complaint and the contemporaneously filed declaration. See Compl. ¶ 46 n.8;

see also Simon Decl. (Dkt. 125) ¶ 6 and Ex. D (Dkt. 125-4) at 40-43. That

correspondence leaves no doubt that CK knew and approved of the infringement,

which was a requirement for CK to approve the deal being brokered. The

correspondence also leaves little doubt that the Defendants conspired together to


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infringe NLA’s copyright.

      Because NLA has plead that CK had knowledge of the infringing activity,

and materially contributed to the infringing conduct, CK’s motion to dismiss should

be denied.

      C.   INAP Is Liable for Spectrum’s Infringement vicariously and
      per Respondeat Superior
      CK continues to argue that it cannot be liable under respondeat superior or

vicarious liability theories because NLA does not recite any facts establishing an

employer-employee relationship or that CK controlled the infringing entities. See

Dkt. 113 at 2. This argument is flawed.

      “One infringes contributorily by intentionally inducing or encouraging direct

infringement . . . and infringes vicariously by profiting from direct infringement

while declining to exercise a right to top or limit it.” MGM Studios Inc. v. Grokster,

Ltd., 545 U.S. 913, 930 (2005). “The first element of the test for vicarious liability is

met if the plaintiff demonstrates that the defendant had the ability to supervise or

control the infringing activity.” UMG Recording v. Escape Media Group, 2014 U.S.

Dist. LEXIS 137491, at *63. (11-cv-8407, S.D.N.Y. 2014) “The second element of the

vicarious infringement test requires showing a causal relationship between the

infringing activity and any financial benefit that the defendant gains. The

relationship is established when the infringing material acts as a draw to attract

users to a defendant’s service. ‘[T]he law is clear that to constitute a financial

benefit, the ‘draw’ of infringement need not be the primary, or even a significant,

draw—rather it need only be a draw.” Id. at 64. (internal citations omitted.)



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      In this matter, Plaintiff has sufficiently plead a claim for vicarious liability.

As to the first factor, the Complaint adequately pleads that CK exercised control

over the infringing entities at least through its ability to set requirements for the

provision of funds to those infringing entities. See, e.g., Compl. ¶¶ 35, 38, 41-46, 52,

72-74, 77-78, 82-84. The correspondence cited in the Complaint further shows that

CK exercised the ability to control the actions of the infringing parties.   See Compl.

¶ 46 n.8; see also Simon Decl. (Dkt. 125) ¶ 6 and Ex. D (Dkt. 125-4) at 40-43. That

correspondence shows that CK exerted its control to instruct the other defendants

to make an infringing copy of the RTR product and place it in escrow for transfer to

an unlicensed third party.

      As to the second factor, NLA has pled that CK has profited from the direct

infringement. NLA pled that CK profited from the infringement through the profits

and fees generated by their investments in the entities that they instructed to

infringe NLA’s copyrights. See, e.g., Compl. ¶14, 25, 27, 74. Thus, NLA has pled

the second factor, a causal relationship between the infringement and “any financial

benefit” to CK.

      Because NLA has established vicarious liability, CK’s motion must be denied.

      D.     NLA Is Entitled to Damages, Attorneys’ Fees And Other Relief
      NLA has plead that it has been harmed by Defendants’ conduct and is

entitled to damages. Compl. ¶14. NLA has pled actual damages, profits

attributable to the infringement, compensatory damages, punitive damages,

attorneys’ fees and costs of suit, and costs of investigation and litigation under any




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applicable legal provision. See Compl. At PRAYER FOR RELIEF §c-f. NLA is still

investigating the full measure of damages it has suffered.

      After further consideration of the issue, NLA hereby withdraws its demand

for statutory damages under 17 U.S.C. § 412. NLA’s claims for other categories of

damages, however, and for attorneys’ fees generally, cannot be dismissed at this

stage because they are available on other grounds.

IV.   NLA Pleads Actionable Non-Copyright Claims
      A.     NLA’s Conversion Claim Against CK is Withdrawn
      CK alleges that NLA’s conversion claims are preempted by copyright law.

Dkt. at 2 ¶ c. Presumably, this is for the same reasons discussed in its earlier

briefing. Dkt. 83 at 15-16. CK’s argument only addresses the preemption of the

conversion claim. See Dkt. 113 at 2 ¶ c; Dkt. 83 at 15-16.

      Though NLA continues to believe that CK’s actions constitute conversion of

NLA’s property, after further consideration and in the interest of simplifying the

case for discovery, NLA hereby withdraws its conversion claim against CK.

      B.     Count 6 (Tortious Interference) is Sufficiently Plead
      Finally, CK continues to assert that NLA’s tortious interference claim is

insufficiently pled. See Dkt. 113 at 2 ¶ 4; id. at 3. CK’s present brief, however,

provides no basis for its argument. Presumably, it is continuing to rely on its

original briefing, which seems to be based entirely on the premises that NLA does

not allege an existing third party business relationship or that any third party

violated an existing contract. See Dkt. 83 at 17. Unfortunately for CK, these

arguments related to the previous complaint and are not true of the current



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Complaint.

      Under New York law, a complaint for tortious interference with prospective

economic advantage is sufficiently plead if it alleges that the tortfeasor is aware of

actual prospective business relationships between the plaintiff and with third

parties, that the tortfeasor unlawfully interfered with such relationships, and

injured the plaintiff. Thome v. Alexander & Louisa Calder Found., 70 A.D.3d 88,

108 (2009); see also Larren v. Santo Domingo, 2018 NY Slip Op. 30162(U), at **14

(N.Y. Sup. Ct. 1st Dept. 2018).

      The current Complaint addresses these elements and CK’s old arguments

cannot stand. The Complaint alleges that NLA had a business and contractual

relationship with Kinetic, and that CK interfered with that relationship by causing

Kinetic not to pay its contractual obligations to NLA. Compl. ¶ 94-95. CK’s

previous arguments related to the previous complaint are not valid against the

current Complaint. The tortious interference claim is properly pled in the current

Complaint. Therefore, CK’s motion should be denied.

V.    Conclusion
      CK’s motion should be denied in its entirety, for the reasons discussed herein.




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Date: 1 February 2019                    Respectfully Submitted,

                                         /s/ Erik Dykema

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                          CERTIFICATE OF SERVICE

       I hereby certify that on February 1, 2019, a true and correct copy of the above
and foregoing document has been served on all counsel of record registered for
electronic filing on the date indicated above via the Court’s ECF system in
accordance with S.D.N.Y. Local Civil Rule 5.2.

                                               /s/ Erik Dykema
                                               Erik Dykema




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